 

IN THE UNITED STATES BANKRUPTCY COURT.
DISTRICT OF NEW JERSEY

t Sadek_ and Cooper Law Office
1315 Walnut Street, Suite 502
Philadelphia, PA 19107
215~545-(}008

 

 

ln Re: _ _
Case No.: 18-33015

_ Chapter: 13
Richard R. and Natalie J. Harker .
` Hearing Date: April 30, 2019

Judge: ` ` 7 Andrew B. Altenburg,]r.

 

 

NOTICE ()F MOTIO_N FOR APPROVAL OF MODIFICATION OF MORTGAGE _

Brad J. Sadek, Esq., attorney for the Debtor in the above captioned matter, has filed papers
with the Court for Approval`of Modii'lcation of Mortgage.

YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and
discuss them with your attorney, if you have one in this Bankruptcy case. (Ifyou do not have an
attorney you may Wish to consult one).

If you do NOT want the court to grant this motion, or if you want the Court to consider your
views, you or attorney must tile with the clerk at the address listed below, a written response
explaining your position no later than 7 days prior to the hearing date:

nearng Dare; Aprn 30, 2019
I-Iearing Tirne: IU:OUam
Hearing Location: Mitche!l H. Cohen U.S. Courthouse ~

496 Cooper Street, 4th Flnol"
Cnmden_, N.J. 08101

Courtroom Nulnber: - 43

lt` you mail your response to the clerk for flling, you must mail it early enough so the Court
will receive it on or before 7‘ days prior to the hearing.date.

You must also mail a copy of your response to each of the following:

Isabel C. Balboa, Trustee l ' Sadek and Cooper Law Off'lce
Ch`erry Tre_e Corporate Center 1315 Walnut Street - Suite 502
535 Route 380 -.- Suite 580 .` Philadelphia, PA 19107

Cherry Hill, NJ 08002 -

If you or your attorney do not take the steps outlined above, the Court may decide that you do
not oppose the relief sought in the motion and may enter an order granting that relief

Date: ` \ _ fs Brad`]. Sadek
` Brad J. Sadek, Esqui»re
Attorney for Debtor

